Case 25-10046-djb        Doc 56
                             Filed 06/12/25 Entered 06/12/25 12:49:59                           Desc Main
                             Document      Page 1 of 2
                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  Robin Deborah Novak                                                       CHAPTER 13
                                     Debtor

  MIDFIRST BANK
                                     Moving Party
                   vs.                                                   NO. 25-10046 DJB

  Robin Deborah Novak
                                     Debtor

  Kenneth E. West                                                       11 U.S.C. Section 362
                                     Trustee

                                              STIPULATION

          AND NOW, it is hereby stipulated and agreed by and between the undersigned as follows:

          1.       As of May 13, 2025, the post-petition arrearage on the mortgage held by Movant on

  Debtor’s residence is $8,696.12. Post-petition funds received after May 13, 2025 will be applied per

  the terms of this Stipulation as outlined herein. The arrearage is itemized as follows:

    Post-Petition Payments:              February 2025 through May 2025 at $2,174.03 each
    Total Post-Petition Arrears:         $8,696.12

          2.       The Debtor shall cure said arrearages in the following manner:

                   a). Beginning June 2025 and continuing through October 2025, until the arrearages

  are cured, Debtor shall pay the present regular monthly mortgage payment of $2,174.03 (or as

  adjusted pursuant to the terms of the mortgage) on or before the first (1st) day of each month (with

  late charges being assessed after the 15th of the month), plus an installment payment of $1,449.36

  towards the arrearages on or before the last day of each month, with a final installment payment of

  $1,449.32 due November 2025, at the address below:

                                             MidFirst Bank
                                     999 NorthWest Grand Boulevard
                                       Oklahoma City, OK 73118

                   b). Maintenance of current monthly mortgage payments to Movant thereafter.

          3.       Should Debtor provide sufficient proof of payments made, but not credited (front &

  back copies of cancelled checks and/or money orders), Movant shall adjust the account accordingly.
Case 25-10046-djb         Doc 56      Filed 06/12/25 Entered 06/12/25 12:49:59                  Desc Main
                                      Document      Page 2 of 2
          4.       In the event the payments under Section 2 above are not tendered pursuant to the

  terms of this stipulation, Movant shall notify Debtor and Debtor’s attorney of the default in writing

  and Debtor may cure said default within FIFTEEN (15) days of the date of said notice. If Debtor

  should fail to cure the default within fifteen (15) days, Movant may file a Certification of Default

  with the Court and the Court may enter an Order granting Movant relief from the automatic stay and

  waiving the stay provided by Bankruptcy Rule 4001(a)(3).

          5.       If the case is converted to Chapter 7, Movant shall file a Certification of Default

  with the Court and the Court may enter an order granting Movant relief from the automatic stay.

          6.       If the instant bankruptcy is terminated by either dismissal or discharge, this

  agreement shall be null and void, and is not binding upon the parties.

          7.       The provisions of this stipulation do not constitute a waiver by Movant of its right to

  seek reimbursement of any amounts not included in this stipulation, including fees and costs, due

  under the terms of the mortgage and applicable law.

          8.       The parties agree that a facsimile signature shall be considered an original signature.


  Date:   May 16, 2025                                /s/ Denise Carlon
                                                      Denise Carlon, Esq.
                                                      Attorney for Movant


  Date:   May 30, 2025                                /s/ Michael A. Cibik
                                                      Michael A. Cibik, Esq.
                                                      Attorney for Debtor
                                                       No Objection

  Date:   June 11, 2025                               /s/ LeeAne O. Huggins
                                                      Kenneth E. West
                                                      Chapter 13 Trustee


  Approved by the Court this          day of                           , 2025. However, the Court
  retains discretion regarding entry of any further order.



                                                      Bankruptcy Judge
                                                      Derek J. Baker
